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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION




  BRUCE MANDISH,
  Plaintiff,

  v.                                                  Case No: 8:18-cv-1001-T-35JSS

  UNITED STATES OF AMERICA,
  Defendant.
  _________________________________/



                                NOTICE OF SETTLEMENT

         Defendant hereby files this Notice of Settlement pursuant to Local Rule 3.08(a) and

  requests that the Court administratively close this case, subject to the provisions of Local Rule

  3.08(b).

                                              Respectfully submitted,

                                              MARIA CHAPA LOPEZ
                                              United States Attorney


                                       By:    /s/ Mamie V. Wise
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                              CERTIFICATE OF SERVICE

         I hereby certify that on December 9, 2019, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system that will send a notice of electronic

  filing to the following:

                 Todd R. Stern, Esquire
                 Francoise M. Haasch, Esquire
                 David R. Fuller, Esquire


                                      s/Mamie V. Wise
                                      MAMIE V. WISE
                                      Assistant United States Attorney
